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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

STACY ERNST et al.                            )
                                              )      Case No. 08-C-4370
       Plaintiffs,                            )
                                              )      Judge Rebecca R. Pallmeyer
       v.                                     )
                                              )
CITY OF CHICAGO                               )
                                              )
       Defendant.                             )

                              JUDGMENT ORDER ON
                       ATTORNEYS’ FEES, COSTS, AND EXPENSES

       Pursuant to and consistent with the provisions of 42 U.S.C. § 2000e-5(k) and Plaintiffs’

Unopposed Motion for Attorneys’ Fees, Costs, and Expenses, the Court enters judgment for

Plaintiffs and against the Defendant City of Chicago (“City”) on part of the Plaintiffs’ claims for

attorneys’ fees, expenses, and costs, and orders as follows:

       1.      Within 60 days of the entry of this Order, the City shall pay to Plaintiffs’ counsel

a total sum of $4,501,898.00, which is comprised of the amounts awarded to each law firm or

lawyer listed below:

       Goldstein, Borgen, Dardarian & Ho             $2,476,898.00

       Susan P. Malone                               $2,025,000.00

       2.      The City’s payment of $4,501,898.00 in total fees, expenses, and costs to

Goldstein, Borgen, Dardarian & Ho and Susan P. Malone shall be a full and final resolution of

all claims for costs, fees and expenses that were or could have been asserted in this case by

Goldstein, Borgen, Dardarian & Ho and Susan P. Malone.
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       3.    The Court will address by further order the attorneys’ fees that the City owes the

remaining Plaintiffs’ counsel, Willenson Law, LLC and Hughes Socol Piers Resnick & Dym,

Ltd.

       4.    The Court retains jurisdiction to enforce the terms of its judgment.




                                                  ENTERED:




 Date: May 2, 2019
                                                  Judge Rebecca R. Pallmeyer




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